       Case:18-10965-TBM Doc#:151 Filed:12/02/18                               Entered:12/02/18 22:33:02 Page1 of 3
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 18-10965-TBM
11380 SMITH RD LLC                                                                                         Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: spressera                    Page 1 of 2                          Date Rcvd: Nov 30, 2018
                                      Form ID: pdf904                    Total Noticed: 16


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 02, 2018.
db             +11380 SMITH RD LLC,    11380 Smith Road,    Aurora, CO 80010-1406
aty             Weinman & Associates, P.C.,    730 17th St Ste 240,    Denver, CO 80202-3506
br            #+CBRE, Inc.,   8390 E. Crescent Parkway,     Suite 300,   Greenwood Village, CO 80111-2813
sp             +Springer & Steinberg, P.C.,    1600 Broadway,    Ste. 1200,    Denver, CO 80202-4920
17895304       +11380 E. Smith Rd Investments, LLC,    Kresher Capital,     3050 Aventura Blvd., 3rd Floor,
                 Miami, FL 33180-3112
18045420       +11380 East Smith RD Investments, LLC,     333 SE 2nd Avenue, Suite 3588,    Miami, FL 33131-2183
17916568       +Adams County Treasurer,    PO Box 869,    Brighton, CO 80601-0869
17895305    ++++DAVID LAIRD, ESQ.,    MOYE WHITE, LLP,    1400 16TH ST STE 600,    DENVER CO 80202-1486
               (address filed with court: David Laird, Esq.,      Moye White, LLP,    1400 16th Street, 6th Floor,
                 Denver, CO 80202)
17895306       +Henzel, Tim,   1510 Jade Road,    Columbia, MO 65201-1702
17895307       +Louis Hard,   7585 S. Biscay Street,     Aurora, CO 80016-1804
17916569       +Owners Insurance Company,    Division of Insurance,    1560 Broadway,    Denver, CO 80202-4942
17896336       +Securities and Exchange Commission,    Central Regional Office,     1961 Stout St.,   Ste. 1700,
                 Denver CO 80294-1700
17895308        Xcel Energy,   P.O. Box 9477,    Minneapolis, MN 55484-9477

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
17896334       +E-mail/PDF: dor_tac_bankruptcy@state.co.us Dec 01 2018 01:12:08
                 Colorado Department Of Revenue,   1375 Sherman St.,   Room 504,   Attention Bankruptcy Unit,
                 Denver CO 80261-3000
17896335        E-mail/Text: cio.bncmail@irs.gov Dec 01 2018 01:06:22     IRS,   PO Box 7346,
                 Philadelphia PA 19101-7346
17896337       +E-mail/Text: bankruptcynoticeschr@sec.gov Dec 01 2018 01:06:39
                 Securities and Exchange Commission,   Midwest Regional Office,   175 W. Jackson Blvd.,
                 Ste. 900,   Chicago IL 60604-2815
                                                                                            TOTAL: 3

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
17916570          Gregory Giometti, Esq.,    Gregory R. Giometti & Assoc.,    50 South Steele, #480
17895310*        +11380 E. Smith Rd Investments, LLC,    Kresher Capital,    3050 Aventura Blvd., 3rd Floor,
                   Miami, FL 33180-3112
17895311*     ++++DAVID LAIRD, ESQ.,    MOYE WHITE, LLP,    1400 16TH ST STE 600,    DENVER CO 80202-1486
                 (address filed with court: David Laird, Esq.,      Moye White, LLP,    1400 16th Street, 6th Floor,
                   Denver, CO 80202)
17895312*        +Henzel, Tim,   1510 Jade Road,    Columbia, MO 65201-1702
17895313*        +Louis Hard,   7585 S. Biscay Street,     Aurora, CO 80016-1804
17895314*         Xcel Energy,   P.O. Box 9477,    Minneapolis, MN 55484-9477
sp             ##+Merlin Law Group, P.A.,    999 18th St.,    Ste. 3000,   Denver, CO 80202-2449
                                                                                                 TOTALS: 1, * 5, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++++’ were corrected as required by the USPS Locatable Address Conversion System (LACS).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 02, 2018                                             Signature: /s/Joseph Speetjens
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                              Form ID: pdf904             Total Noticed: 16

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                              CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 30, 2018 at the address(es) listed below:
              Daniel J. Morse    on behalf of U.S. Trustee   US Trustee daniel.j.morse@usdoj.gov
              Douglas W Brown    on behalf of Debtor   11380 SMITH RD LLC dbrown@bbdfirm.com,
               jkordziel@bbdfirm.com;jkreh@bbdfirm.com
              Jeffrey Weinman     on behalf of Debtor   11380 SMITH RD LLC jweinman@epitrustee.com,
               lkraai@weinmanpc.com;lkraai@ecf.courtdrive.com
              Robert Samuel Boughner    on behalf of U.S. Trustee   US Trustee Samuel.Boughner@usdoj.gov
              Scott Calvin James    on behalf of Creditor   11380 East Smith Rd Investments, LLC
               scott.james@moyewhite.com, brooke.somerville@moyewhite.com
              Timothy M. Swanson    on behalf of Creditor   11380 East Smith Rd Investments, LLC
               tim.swanson@moyewhite.com,
               audra.duzenack@moyewhite.com;Melissa.dymerski@moyewhite.com;robin.anderson@moyewhite.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                              TOTAL: 7
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